Case 2:04-cr-20503-SH|\/| Document 48 Filed 07/06/05 Page 1 0t2 Page|D 62

l./

UNITED sTATEs DIsTRIC'r CoURT w B"_ »-Q‘-- °~°~
wEsTERN DIsTRICT or TENNESSEE
Western Division 05 JUL "6 PH l‘ us

tHDM\S_ tt

, _ U.S DtStHC
UNITEI) sTATES oF AMERICA w OF TN. news
-vs- Case No. 2:04cr20503-001Ma
BRUCE BARNHILL

 

ORDER OF TEMPORARY DETENTION
PENDING I~IEARINGl PURSUANT TO
BAIL REFORM ACT
Upon motion of the , it is ORDERED that a detention hearing is set for TUESDAY, JULY
5, 2005 at 2:30 P.M. before United States Magistrate Judge Diane K. Vescovo in Courtroom No.
5, 'I`hird Floor, United States Courthouse and Federal Building, 167r North Main, Memphis, TN.
Pending this hearing, the defendant shall be held in custody by the United States Marshal and

produced for the hearing.

Date: July 1, 2005 7

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

'It" not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(D(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(£) are present Subsection (1) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (B.'BS) Order of Temporary Detanticln

Th|s document entered on the docket sheet tn compt nce
with Ru|e 55 and/or 32(b) FF|CrP On 2 'é _Qé

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:04-CR-20503 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed

 

 

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

